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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION



 ROTHSCHILD BROADCAST DISTRIBUTION                      CASE NO. 6:15-CV-229
 SYSTEMS, LLC,

              Plaintiff,
                                                        JURY TRIAL DEMANDED
       v.

 UNIVISION COMMUNICATIONS INC.,

              Defendant.



                              STIPULATION OF DISMISSAL


        Under Federal Rule of Civil Procedure 41(a), Rothschild Broadcast Distribution

 Systems, LLC ("RBDS") dismisses its claims against Univision Communications Inc.,

 without prejudice, and each party bears its own attorneys' fees and costs.
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 DATED: May 28, 2015                            Respectfully Submitted,


                                                By: /s/ Charles Ainsworth

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                                                LLC


                                CERTIFICATE OF SERVICE

         I hereby certify that the following counsel of record, who are deemed to have consented
 to electronic service are being served this 28th day of May, 2015, with a copy of this document
 via the Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be
 served by electronic mail, facsimile transmission and/or first class mail on this same date.

                                            /s/ Charles Ainsworth
                                            CHARLES AINSWORTH




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